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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

CADENCE BANK, et al,                                  §
                                                      §
        Plaintiffs                                    §
                                                      §
v.                                                    §   CIV. ACT. NO. 4:23-cv-00609-BJ
                                                      §
BRIDGELINK ENGINEERING, LLC et al,                    §
                                                      §
        Defendants                                    §

      NON-PARTY MOVANTS’ MOTION TO STRIKE AS COUNSEL OF RECORD

        Pursuant to the Court’s direction, non-parties Benjamin T. Pendroff and Barnes &

Thornburg LLP (together, “Movants”) file this Motion to strike Benjamin T. Pendroff and Barnes

& Thornburg LLP as counsel of record in this action. It has come to Movants’ attention that both

the Joint Report Regarding Scheduling Conference (ECF 15) and the Notice and Election

Regarding Consent to Proceed Before a Magistrate Judge (ECF 16-1) inadvertently included

Movants’ signature and signature block as counsel for Defendants Bighorn Construction and

Reclamation, LLC, Bighorn Investments and Properties LLC, Bighorn Sand and Gravel LLC,

Bridgelink Engineering, LLC, Cole Wayne Johnson, and Cord Henry Johnson. For clarity, neither

Benjamin T. Pendroff nor any other attorney at Barnes & Thornburg LLP is, or has been, counsel

of record in this action. Accordingly, Movants respectfully request that the Court strike Benjamin

T. Pendroff and Barnes & Thornburg LLP as counsel of record in this action and remove Movants

from the docket and all notifications going forward. Movants further request that the Court direct

the parties to this action to amend ECF documents 15 and 16-1 accordingly. Movants also request

all other relief to which they may be entitled.

                                             PRAYER

        For the reasons stated above, Movants Benjamin T. Pendroff and Barnes & Thornburg LLP

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respectfully request that the Court grant this Motion in its entirety, strike Movants’ names from

the record, remove Movants from the docket and all future notifications, and direct the parties to

amend ECF documents 15 and 16-1 accordingly. Movants further request all other relief to which

they may be entitled at law or equity.


Dated: September 22, 2023

                                             Respectfully submitted,

                                             BARNES & THORNBURG LLP

                                              /s/ Benjamin T. Pendroff
                                             Benjamin T. Pendroff
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                                             Non-party movants




                                CERTIFICATE OF SERVICE

       I, Benjamin T. Pendroff, hereby certify that a true and correct copy of the foregoing
instrument was served on all counsel of record through the ECF filing system on September 22,
2023.



                                             /s/Benjamin T. Pendroff
                                             Benjamin T. Pendroff




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